                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           EASTERN DIVISION

WINSOME A. HYDE,                       *
                                       *
              Plaintiff,               *
                                       * CIVIL ACTION NO.: 4:19-cv-00126 D
         v.                            *
                                       *
KILOLO KIJAKAZI1,                      *
Acting Commissioner of Social          *
Security,                              *
                                       *
              Defendant.               *
                                     *****
                                 ORDER

      Upon consideration of Plaintiffs petition for attorney's fees pursuant to 42

U.S.C. § 406(6), and Defendant's response, it is this _15th
                                                        _ _ day of October, 2021, by

the United States District Court for the Eastern District of North Carolina,

      ORDERED that Plaintiffs counsel is awarded an attorney's fee pursuant to

the Social Security Act, 42 U.S.C. § 406(6), in the amount of$ 12,372.63 12, (or 25%

of Plaintiffs past-due benefits, whichever is less). Further, the Court has approved




1
 Kilolo Kijakazi is now the Acting Commissioner of Social Security. Pursuant to
Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi should be
substituted for Commissioner Andrew Saul as the defendant in this suit. No
further action needs to be taken to continue this suit by reason of the last sentence
of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).




        Case 4:19-cv-00126-D Document 38 Filed 10/15/21 Page 1 of 2
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Counsel's ,request to retain$ 7,024.06 previously awarded under the Equal Access

to Justice Act in partial satisfaction of the§ 406(b) fee.

      Therefore, the Acting Commissioner is authorized to pay the remaining§

406(b) fee award amount of$ 5,348.57 out of available withheld past-due benefits.

                                                               \
      SO ORDERED. This JS:_ day of October, 2021.




                                                JAMES C. DEVER III
                                                United States District Judge




                                            2




        Case 4:19-cv-00126-D Document 38 Filed 10/15/21 Page 2 of 2
